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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JEAN A. MONTGOMERY,                               )
                                                   )
         Plaintiff,                                )
                       v.                          ) Case No. 15-cv-10840
                                                   )
 CHARLES SCIALLA, WILLIAM                          ) Honorable Robert M. Dow, Jr.
 SIMPSON, SCIALLA ASSOCIATES, INC.,                )
 and NATIONAL ASSOCIATION OF                       )
 POSTAL SUPERVISORS,                               )
                                                   )
         Defendants.                               )
                                                   )

              DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION
            FOR ORDER LIMITING PLAINTIFF’S DISCOVERY REQUESTS

        Defendants National Association of Postal Supervisors (“NAPS”), Scialla Associates,

Inc. (“Scialla Associates”), Charles Scialla (“Scialla”), and William Simpson (“Simpson”)

(collectively, “Defendants”), submit this Reply in support of their Motion for Order Limiting

Plaintiff’s Discovery Requests (Dkt. 100) (“Motion”).1

   I.       INTRODUCTION

        This Court has repeatedly advised Plaintiff that the only claim she can attempt to allege

against Defendants is one for simple breach of contract. After three years of litigation, however,

Plaintiff has not—and cannot—adequately plead such a claim nor has she been able to allege the

mere existence of the contract she claims was breached. In allowing the parties to engage in

targeted discovery, the Court directed that any discovery at this stage be limited to Plaintiff’s

ability to state a viable breach of contract claim, and further warned that discovery is not to be

used as a fishing expedition.



1 Unless otherwise stated, all capitalized terms herein shall be defined as set forth in the Motion.
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         Ignoring that warning, Plaintiff attempts to engage Defendants in full-blown discovery on

the merits through the issuance of more than 200 discovery requests that Plaintiff claims, without

any support or explanation whatsoever, are targeted and limited. In Plaintiff’s Response to

Defendants’ Motion for Order Limiting Plaintiff’s Discovery Requests (Dkt. 103) (“Response”

or “Resp. at __”), Plaintiff reiterates various allegations of her Fourth Amended Complaint and

concedes that responses to her Discovery Requests relate to the merits of such allegations, and

not to her ability to state a claim against Defendants. Plaintiff’s Response further attempts to

circumvent this Court’s directive by claiming her Discovery Requests should be answered

because they do not impose an undue burden and Defendants will not incur significant costs in

doing so. Because Plaintiff’s Discovery Requests are in direct contradiction of this Court’s

Order permitting targeting discovery relating to Plaintiff’s potential breach of contract claim,

Defendants’ Motion should be granted, and Plaintiff should be required to comply with the

Order.

   II.      PLAINTIFF CONCEDES THAT THE DISCOVERY REQUESTS EXCEED
            THE SCOPE OF THE ORDER.

         In Plaintiff’s Response, she continuously references various allegations of her Fourth

Amended Complaint and she summarizes what she determines to be the five categories of

information being sought by the Discovery Requests. (Resp. at 5-9.) In summarizing the

categories of information sought, Plaintiff concedes that the majority of her Discovery Requests

seek information related to her representation before the Merit Systems Protection Board (e.g.,

the ability of Simpson and Scialla to practice law, steps taken by Simpson during his

representation of Plaintiff) and not to the elements of a breach of contract claim. Indeed, only

one category seeks information relating to the terms and conditions of an alleged contract. The

remaining four categories assume the existence of a contract entitling Plaintiff to legal


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representation and seek to obtain information relating to such legal representation, which

amounts to full-blown, merit-based discovery despite Plaintiff’s continued inability to state a

claim.

          As this Court has previously advised, Plaintiff is only permitted to file a complaint “for

state-law breach of contact only.” (Dkt. 46 at 1.) The Court further sets out the elements of a

breach of contract claim and instructed Plaintiff that she needs to identify each of the following:

“(a) the parties to each alleged contract; (b) whether the contract was oral or written; (c) when

the contract was made; (d) the specific relevant terms of the contract; (e) how the contract was

breached; and (f) how Plaintiff was damaged as a result of the breach.” (Id. at 1-2, 13-14.)

Accordingly, when the Court ordered that any discovery be “targeted to plaintiff’s ability to state

a viable claim,” it mandated that any discovery requests should be limited to requests aimed at

seeking information related to those elements. Plaintiff has not presented any support as to how

information related to potential witnesses or how the ability of Simpson and Scialla to practice

law pertains to a breach of contract claim. Indeed, Plaintiff concedes her “targeted” discovery

requests seek information related to the “role played by each defendant in representing

Montgomery before the Merit Systems Protection Board.” (Resp. at 4). Because Plaintiff has

failed to support how her Discovery Requests relate to her ability to bring a claim, Defendants’

Motion should be granted, and Plaintiff should be required to comply with the Order by issuing

discovery requests aimed at satisfying the elements of a breach of contract claim.

   III.      PLAINTIFF’S ASSERTION THAT HER DISCOVERY REQUESTS ARE NOT
             BURDENSOME OR OVERLY BOARD IS IRRELEVANT IN LIGHT OF THE
             COURT’S ORDER.

          Plaintiff attempts to circumvent the parameters of the Order limiting discovery by

suggesting that Defendants should be required to respond to all Discovery Requests because



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doing so would not impose an undue burden on Defendants. In attempting to justify her

unlimited and untargeted Document Requests, Plaintiff asserts that “voluminous number of

documents are not sought, an enormous amount of time will not be required to answer the

[Document Requests], and no great expense should be incurred.” (Resp. at 2, see also Resp. at

5.) Not only is this conclusion inaccurate, but such conclusion is wholly irrelevant in light of the

Court’s Order permitting only targeted discovery.

       In ordering that discovery be aimed at satisfying the notice pleading requirements of Rule

8, the Court recognized Defendants’ legitimate concern in avoiding costs associated with

potentially unnecessary discovery due to Plaintiff’s inability to state a claim after several years.

The Order bars discovery unrelated to a breach of contract claim and further acknowledges that

Defendants will not be required to engage in discovery—and incur any costs or spend any time,

despite how minimal—outside of discovery pertaining to such a claim. By its very nature, the

Order contemplated the potential that discovery might be sought related to matters outside of

Plaintiff’s ability to satisfy her pleading burden. That is, in limiting discovery, the Court

recognized that any discovery request unrelated to the elements of a breach of contract claim

would be overbroad and unduly burdensome, and the volume of documents, time spent, or cost

incurred in responding is, therefore, immaterial. Defendants should not be required to spend any

time or incur any cost associated with responding to Plaintiff’s Discovery Requests that are not

targeted in compliance with the Order.2



2 Moreover, the sheer number of Discovery Requests undermines Plaintiff’s position that they
are not overbroad and burdensome, and responding to them would not be time consuming and
expensive. Plaintiff is correct that the parties agreed it would be best for Plaintiff to serve
separate discovery requests on each of the four-named Defendants. However, when those
conversations occurred, Plaintiff had proposed a total of 12 document requests and 18
interrogatories, a number of which Defendants objected to as being outside of the scope of the
Order, and Plaintiff agreed to re-evaluate those requests and consider further limitations. At no

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   IV.      CONCLUSION

         WHEREFORE, Defendants respectfully request that this Court enter an Order: (a)

granting their Motion for Order Limiting Plaintiff’s Discovery Requests; (b) at a minimum,

striking the following Discovery Requests that were identified in Defendant’s Motion:

Interrogatories to Defendant National Association of Postal Supervisors, Nos. 10-13;

Interrogatories to Defendant Williams Simpson, Nos. 13-18; Interrogatories to Defendant Scialla

Associates, Nos. 11-15; Interrogatories to Defendant Charles Scialla, Nos. 14-20; Requests to

Admit to Defendants Simpson Nos. 12-47; and Request to Admit to Defendant Charles Scialla,

Nos. 22-27;3 (c) requiring Plaintiff to limit her Discovery Requests in compliance with this

Court’s January 9, 2019 order; and (d) granting Defendants such other and further relief as is

appropriate.

Dated: March 18, 2019                            /s/ Julie M. Mallen
                                                 One of the attorneys for Defendants
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time prior to the issuance of her Discovery Requests did Plaintiff propose issuing any Requests
to Admit, yet alone almost 100 Requests to Admit.
3 By not specifically identifying additional Discovery Requests in the Motion or this reply,
Defendants are not waiving any objection they may have to a request.

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                                CERTIFICATE OF SERVICE

       I, Julie M. Mallen, an attorney, hereby certify that the foregoing Defendants’ Reply in

Support of Its Motion for Order Limiting Plaintiff’s Discovery Requests was filed

electronically with the Clerk of the Court using the CM/ECF System, which will automatically

provide electronic notice upon all counsel of record, on the 18th day of March 2019.


                                                    /s/ Julie M. Mallen
